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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Galveston Bay Properties, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  708 Main Street, 10th Floor
                                  Houston, TX 77002
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Galveston County, Texas
                                                                                                  Chambers County, Texas
                                                                                                  (offshore - state waters)
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Galveston Bay Properties, LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy              No.
     cases filed by or against                               This case is related to and involves the assets from:
     the debtor within the last 8       Yes.                In re Galveston Bay Energy, LLC, Case No. 16-31923-DRJ (Bankr. S.D. Tex., April 13, 2016)
     years?
                                                            Western District of
     If more than 2 cases, attach a                         Texas, San Antonio
     separate list.                              District   Division                When           8/09/17                    Case number   17-51905-CAG
                                                 District   Southern District, TexasWhen            4/13/16                   Case number   16-31923


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Galveston Bay Operating Company, LLC                          Relationship              Affiliate
                                                            Southern District of
                                                            Texas, Houston
                                                 District   Division                      When    11/01/19                Case number, if known

Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   Galveston Bay Properties, LLC                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Galveston Bay Properties, LLC
          Name
                                                                                                    Case number (if known)
                                                                                                                             ---------------


          Request for Relief, Declaration, and Signatures

WARNING •· Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
17. Declaration and signature
   of authorized
   representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       November 1, 2019

                                                    M�//7
                              X           "�                                                              Andrey Medvedev
                                  Signature ofauthorizedreprative of debtor                               Printed name

                                  Title   President




18. Signature of attorney     X     /s/ Kell C. Mercer                                                      Date November 1, 2019
                                  Signature of attorney for debtor                                               MM/ DD /YYYY

                                  Kell C. Mercer
                                  Printed name

                                  Kell C. Mercer P .C.
                                  Firm name

                                  1602 E. Cesar Chavez Street
                                  Austin, TX 78702
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (512) 627-3512               Email address      kell.mercer@mercer-law-pc.com

                                  Tex.BarNo.24007668
                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Galveston Bay Properties, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS,                                                                              Check if this is an
                                                HOUSTON DIVISION
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ard Well Service                                                                                                                                                           $1,584.03
 LLC
 17168 Frazier Drive
 Batson, TX
 77519-7886
 Barbers Hill                                                                                                                                                               $5,101.50
 Independent School
 District
 c/o Owen Sonik
 Perdue Brandon
 Fielder Collins &
 Mott
 1235 N. Loop West
 #600
 Houston, TX 77008
 Blackgold Services,                                                                                                                                                        $1,148.84
 Inc.
 P.O. Box 1526
 Liberty, TX 77575
 HB Rentals                                                                                                                                                                   $728.35
 P.O. Box 122131,
 Dept 2131
 Dallas, TX
 75312-2131
 Industrial & Marine                                                                                                                                                          $950.99
 Service Co.
 P.O. Box 37
 Pearland, TX
 77581-6084
 Integrity Energy                                                                                                                                                           $1,894.44
 Solutions
 116 Diamond Creek
 Drive
 Broussard, LA
 70518-5322




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Galveston Bay Properties, LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 James O.                                                                                                                                                                   $3,776.90
 Linnemann, CPA
 PO Box 142077
 Arlington, TX 76014
 Kimray Inc.                                                                                                                                                                $1,529.42
 PO Box 248869
 Oklahoma City, OK
 73124-8869
 OMI Environmental                                                                                                                                                          $2,469.52
 Solutions
 P.O. Box 932127
 Atlanta, GA
 31193-2127
 Progas Energy                                                                                                                                                              $1,828.77
 Services LLC
 2464 FM 725
 New Braunfels, TX
 78130
 Rekoll Oil LLC                                                                                                                                                         $150,000.00
 2925 Richmond
 Avenue, Suite 1200
 Houston, TX 77098
 Reynaldo Trejo                                                                                                                                                             $1,591.63
 Trucking
 1116 S. Stadium
 Road
 Alice, TX 78332-6803
 Rubicon Resources,                                                                                                                                                         $3,066.25
 LLC
 Attn: Pat Robinson
 3968 Reagan Lane
 Robstown, TX 78380
 Shamrock Vacuum                                                                                                                                                            $1,029.13
 P.O. Box 476
 Daisetta, TX 77533
 South Coast Fire &                                                                                                                                                         $1,557.15
 Safety
 6230 Brookhill Drive
 Houston, TX
 77087-1102
 Spectral Oil & Gas                                                                                                                                                         $2,500.00
 25349 Borough Park
 Drive
 Spring, TX 77380
 Superior Vacuum                                                                                                                                                              $754.50
 Services
 P.O. Box 320
 Hardin, TX 77561
 Trinity Consultants,                                                                                                                                                         $833.37
 Inc.
 P.O. Box 972047
 Dallas, TX
 75397-2047

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Galveston Bay Properties, LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 USI Soutwest                                                                                                                                                               $1,310.76
 9811 Katy Freeway,
 Suite 500
 Houston, TX
 77024-1227
 Walne Law, LLC                                                                                                                                                             $1,588.38
 4900 Woodway,
 Suite 975
 Houston, TX 77056




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                         Southern District of Texas, Houston Division
 In re      Galveston Bay Properties, LLC                                                                   Case No.
                                                                                   Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Galveston Bay Properties, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Grace Oil Investments LLC
 5027 S. 136th Ave., Unit 605
 Tulsa, OK 74134
 Petroleum Investments, LLC
 605 W. 42nd Street, APt. 33F
 New York, NY 10036




 None [Check if applicable]




 November 1, 2019                                                      /s/ Kell C. Mercer
 Date                                                                Kell C. Mercer Tex. Bar No. 24007668
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Galveston Bay Properties, LLC
                                                                     Kell C. Mercer, P.C.
                                                                     1602 E. Cesar Chavez Street
                                                                     Austin, TX 78702
                                                                     (512) 627-3512
                                                                     kell.mercer@mercer-law-pc.com




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                       WRITTEN CONSENT RESOLUTIONS
                        OF MEMBERS AND MANAGER

                                            of

                       GALVESTON BAY PROPERTIES LLC

                                    October 31, 2019

       In lieu of a meeting, the below signed Members and Managers of Galveston By
Properties LLC (the “Company”) do hereby approve and adopt the following consent
resolutions as authorized by Sections 4.9 and 5.13 of the Amended and Restated Company
Agreement of the Company:

        RESOLVED, that in the judgment of the Members and the Managers, it is
desirable and in the best interests of the Company, its creditors, members and other
interested parties, that the Company be authorized and empowered to file, at such time as
it is deemed necessary by the appropriate officer of the Company, a petition for relief (the
“Petition”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”); and it is further

       RESOLVED, that Andrey Medvedev, the President of the Company, is hereby
authorized, directed and empowered, on behalf of and in the name of the Company, (i) to
execute and verify the Petition and cause the Petition to be filed with the Bankruptcy
Court and (ii) to perform any and all such acts as are reasonable, advisable, expedient,
convenient, proper and necessary to effect any of the foregoing; and it is further

       RESOLVED, that Andrey Medvedev, the President of the Company, is
authorized, directed and empowered, on behalf of and in the name of the Company, to
execute, verify and file or cause to be filed all other reasonable and customary
applications, schedules, lists, motions and other papers and documents; and it is further

       RESOLVED, that Andrey Medvedev, the President of the Company, is hereby
authorized, directed and empowered to open any new bank accounts, as needed, to be
designated as "Debtor-in-Possession" bank accounts pursuant to the filing of the petition
under Chapter 11 of the Bankruptcy Code, and to include Andrey Medvedev, the
President of the Company, as the signing party on such accounts, as representative of the
Company; and it is further

       RESOLVED, that effective October 23, 2019, Andrey Medvedev, the President
of the Company, is authorized, directed and empowered to retain on behalf of the
Company, Kell C. Mercer and the law firm of Kell C. Mercer, P.C. and Chris Adams
and the law firm of Okin Adams, LLC, each as bankruptcy counsel, to represent




                                             1
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the Company in the aforesaid Chapter 11 bankruptcy case and all other related matters in
connection therewith and such other terms and conditions as the officers shall deem
advisable; and it is further

RESOLVED, that Andrey Medvedev. the President of the Company. is authorized and
empowered, for and on behalf of the Company, to execute and file all such instruments
and documents, to make all payments, to enter into all agreements and to do or cause to
be done all acts and things that may be necessary or appropriate to carry out the
purposes of the foregoing consent resolutions.




             · ov, Manager



AnMey��


Consenting Members:

                      MENTSLLC
                      ··  ompany




                                                             ......

PETROLEUM INVESTMENTS LLC
a Delaware limited liability company
                                                                                                         I


By:�                                                                                                ·I
                                                                                                     j
Mikhail� �er                                                                                       j
                                                                                                   I



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                                                                                               J
                                                                                           ./
                                                                                           j

                                           2
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                                                               United States Bankruptcy Court
                                                         Southern District of Texas, Houston Division
 In re      Galveston Bay Properties, LLC                                                           Case No.
                                                                                Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       November 1, 2019                                        /s/ Andrey Medvedev
                                                                     Andrey Medvedev/President
                                                                     Signer/Title




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